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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   BEAUMONT DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
                                                   §
 VS.                                               §   CASE NO. 1:09-CR-109(13)
                                                   §
 RICHARD HICKMAN                                   §

             FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                  BEFORE THE UNITED STATES MAGISTRATE JUDGE

           By order of the District Court, this matter was referred to the undersigned United States

 Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

 Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct

 a felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3).

 United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642

 (2003).

           On December 29, 2009, this cause came before the undersigned United States Magistrate

 Judge for entry of a guilty plea by the Defendant, on Count 1 of the charging Indictment filed

 in this cause. Count 1 of the Indictment charges that from in or about December 1988, the exact

 date being unknown to the Grand Jury, and continuing thereafter until August 5, 2009, in the

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 Eastern District of Texas and elsewhere, Defendant Richard Hickman and other defendants did

 knowingly or intentionally combine, conspire, confederate, and agree together with each other

 and with persons known and unknown to the Grand Jury, to distribute and possess with intent to

 distribute a Schedule I controlled substance, namely marijuana, in an amount of one thousand

 (1,000) kilograms or more, in violation of Title 21, United States Code, Section 841(a)(1) and

 Title 18, United States Code, Section 2, all in violation of Title 21, United States Code, Section

 846. See Indictment.

        Defendant, Richard Hickman, entered a plea of guilty to Count 1 of the Indictment into

 the record at the hearing.

        After conducting the proceeding in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11 the Court finds:

        a.      That Defendant, after consultation with counsel of record, has knowingly, freely

 and voluntarily consented to the administration of the guilty plea in this cause by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.

        b.      That Defendant and the Government have entered into a plea agreement which

 was disclosed and addressed in open court, entered into the record, and placed under seal.

        c.      That Defendant is fully competent and capable of entering an informed plea, that

 Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant




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 personally in open court, the Court determines that Defendant’s plea is voluntary and did not

 result from force, threats, or promises. See FED . R. CRIM . P. 11(b)(2).

        d.      That Defendant’s knowing, voluntary, and freely made plea is supported by an

 independent factual basis establishing each of the essential elements of the offense and

 Defendant realizes that his conduct falls within the definition of the crimes charged under Title

 21, United States Code, Section 846.

                                   STATEMENT OF REASONS

        As factual support for Defendant’s guilty plea, the government presented evidence with

 the plea agreement. See Factual Basis, Included in Plea Agreement. In support, the Government

 would prove that Defendant, Richard Hickman, is one and the same person charged in the

 Indictment and that the events described in the Indictment occurred in the Eastern District of

 Texas and elsewhere. The Government would also have proven, beyond a reasonable doubt,

 each and every essential element of the offense alleged in the Indictment through the testimony

 of witnesses, including expert witnesses, and admissible exhibits. In support of the Defendant’s

 plea, the Court incorporates the proffer of evidence described in detail in the factual basis

 portion of the plea agreement.

        Defendant, Richard Hickman, agreed with the evidence included in the plea agreement.

 Counsel for Defendant and the Government attested to Defendant’s competency and capability

 to enter an informed plea of guilty. The Defendant agreed with the evidence presented by the

 Government and personally testified that he was entering his guilty plea knowingly, freely, and

 voluntarily.



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                                        RECOMMENDED DISPOSITION

          IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count 1 of the charging Indictment on file in this criminal

 proceeding. The Court also recommends that the District Court accept the plea agreement.1

 Accordingly, it is further recommended that, Defendant, Richard Hickman, be finally adjudged

 as guilty of the charged offense under Title 21, United States Code, Section 846.

          Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. At the plea hearing, the Court admonished the Defendant

 that the District Court may reject his plea. The District Court may defer its decision to accept or

 reject the plea agreement until there has been an opportunity to consider the presentence report.

 See FED . R. CRIM . P. 11(c)(3).




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                    “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
 that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
 the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” F ED . C RIM . P. 11(c)(3)-(5).


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                                         OBJECTIONS

        Within ten (10) days after receipt of this report, any party may serve and file written

 objections to the report and recommendation of the Magistrate Judge pursuant to 28 U.S.C. §

 636(b)(1)(C). Failure to file written objections to the proposed findings of facts, conclusions of

 law and recommendations contained within this report within ten (10) days after service shall bar

 an aggrieved party from de novo review by the District Judge of the proposed findings,

 conclusions and recommendations, and from appellate review of factual findings and legal

 conclusions accepted by the District Court except on grounds of plain error. Douglass v. United

    . Auto. Ass’n., 79 F.3d 1415 (5th Cir. 1996) (en banc); 28 U.S.C. § 636(b)(1).
 Serv.                                                                                         The

 constitutional safeguards afforded by Congress and the courts require that, when a party takes

 advantage of his right to object to a magistrate’s findings or recommendation, a district judge

 must exercise its nondelegable authority by considering the actual evidence and not merely by

 reviewing and blindly adopting the magistrate’s report and recommendation. See Hernandez v.

 Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir.

 1981) (per curiam).



                       SIGNED this the 30th day of December, 2009.




                                                         ____________________________________
                                                         KEITH F. GIBLIN
                                                         UNITED STATES MAGISTRATE JUDGE



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